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 HON. SYLVIA O. HINDS-RADIX          THE CITY OF NEW YORK                            JOSEPH PEPE
     Corporation Counsel                                                            Senior Counsel
                                    LAW DEPARTMENT                                Tel: (212) 356-3173
                                                                                  jpepe@law.nyc.gov
                                          100 CHURCH STREET
                                       NEW YORK, NEW YORK 10007

                                                                                      May 27, 2022

 VIA ECF

 Magistrate Judge Sanket J. Bulsara
 United States District Court Judge
 Eastern District of New York
 United States Courthouse
 225 Cadman Plaza East
 Brooklyn, New York 11201

                   Re: Daniel Presti and Louis Gelormino v. City of New York, et al., 1:21-cv-
                   03811 (PKC)(SJB)

 Dear Magistrate Judge Bulsara:

         I am the Assistant Corporation Counsel in the office of Hon. Sylvia O. Hinds-Radix,
 Corporation Counsel of the City of New York, representing Defendants the City of New York, et
 al. in the above-referenced matter. With the consent of Plaintiffs’ counsel, Defendants
 respectfully request a 30-day extension of discovery to July 6, 2022.
         On April 4, 2022, the Court granted the parties’ request to extend discovery by 60 days to
 June 6, 2022 to allow for depositions to be completed. Thus far, counsel has completed four
 depositions, and scheduled additional depositions between May 18 and May 27, which were to
 be conducted in person. However, on May 18, counsel for Defendants became ill and tested
 positive for COVID-19, and all scheduled depositions were canceled. The parties request this
 extension of discovery in order to complete the remaining depositions.
         To my knowledge, the April 4 request for an extension of discovery is the only such
 request that has been made in this matter. Accordingly, I respectfully request, with the consent
 of Plaintiffs’ counsel, that the Court grant the relief sought herein.

                                                              Sincerely,




                                                              Joseph Pepe, Esq.
                                                              Assistant Corporation Counsel
